Case 2:05-cr-20201-.]DB Document 23 Filed 07/19/05 Page 1 of 2 Page|D 31

Fg_ED BY _,_ D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL ` 9 PH 2; 27
WES'I`ERN DIVISION

 

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UNITED STATES OF AMERICA, W|® G|E m 4a _;`_:: n

  

Plaintiff,

VS. CR. NO. 05-20201

JOHN FoRD,

Defendant.

 

ORDER GRANTING DEFENDANT’S
MOTION TO CONTINUE REPORT SETTING

 

This cause came on upon the motion of the Defendant to continue the report setting
Seheduled for July 21, 2005 at 8:45 a.m. For good cause shown, the Court hereby grants the
Defendant’s motion and waives the Defendant and counsel’s presence at this setting.

IT IS SO ORDERED this l § day of July, 2005.

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.1) NIEL BREEN \
UN ED sTATEs DISTRICT JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
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Honcrable J. Breen
US DISTRICT COURT

